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16                              UNITED STATES DISTRICT COURT
17                              EASTERN DISTRICT OF CALIFORNIA
18
19   RALPH COLEMAN,                            )    No.: Civ S 90-0520 LKK-JFM
                                               )
20          Plaintiffs,                        )    DECLARATION OF MICHAEL W.
                                               )    BIEN IN SUPPORT OF PLAINTIFFS’
21   vs.                                       )    RESPONSE TO SUPPLEMENTAL
                                               )    SUBMISSIONS RE OVERCROWDING
22   ARNOLD SCHWARZENEGGER, et al.,            )
                                               )    Hearing Date:   June 27, 2007
23          Defendants                         )    Time:           10:30 a.m.
                                               )    Location:       Courtroom 1
24                                                  Judges:         Hon. Lawrence K. Karlton
                                                                    Hon. Thelton E. Henderson
25
26
27
28
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 1   I, Michael W. Bien, declare:
 2           1.      I am a member of the Bar of this Court and a partner of the firm Rosen, Bien &
 3   Galvan, LLP, one of the counsel of record for the plaintiff class (hereinafter “plaintiffs”). I
 4   have personal knowledge of the matters set forth herein and if called as a witness I could
 5   competently so testify. I submit this declaration in support of Plaintiffs’ Response to
 6   Receiver’s Supplement Report Regarding Overcrowding.
 7           2.      I have reviewed the “Receiver’s Supplemental Report Re Overcrowding,”
 8   (Docket No. 2265 in Coleman) and the accompanying “Declaration of John Hagar in Support
 9   of Receiver’s Supplemental Report Re Overcrowding” (Docket No. 2266), both filed June 11,
10   2007.
11           3.      The Receiver’s Supplemental Report includes a section titled “Problems With the
12   Delivery of Medical Care in CCFs [Community Correctional Facilities],” which notes that
13   “[b]oth AB 900 and the CRC conversion contemplate the placement of additional prisoners
14   into community beds,” reports on problems in bringing care at these facilities up to
15   “constitutional standards,” and concludes that “the establishment of yet more CCFs may well
16   jeopardize the medical health of all prisoners assigned to community correctional facilities.”
17   (Receiver’s Supplement Report at 7-16, quoted language at 7:17-20, 9:20, 9:23-24.)
18           4.      The evidence that the Receiver provides regarding the dysfunctional relationship
19   between the California Department of Corrections and Rehabilitation (“CDCR”) and
20   community-based providers of the above-reference CCF confirms the concerns that plaintiffs’
21   counsel raised in Plaintiffs’ Supplemental Brief in Support of Motion to Convene a Three-
22   Judge Panel to Limit the Prison Population (Docket No. 2251) regarding the prospects for
23   defendants’ proposed parole reforms to result in any near-term population reductions. The
24   Declaration of Ernest Galvan in Support of Plaintiffs’ Supplemental Brief in Support of
25   Motion to Convene a Three-Judge Panel to Limit the Prison Population recites the recent
26   history of parole reform efforts, including efforts ordered by this Court in Valdivia v.
27   Schwarzenegger. (Docket No. 2242.) I have also participated directly in the Valdivia remedial
28   sanctions process, and have personal knowledge regarding the recurrent delays and failures of
                                                 -1-
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 1   CDCR’s efforts to establish community-based alternatives to incarceration.
 2          5.     The letters between the community-based Claremont Custody Center and CDCR
 3   that Mr. Hagar attaches to his Declaration at Exhibits 7-11 constitute a stark and very recent
 4   example of poor relations between CDCR and community-based providers that was also
 5   documented in the above-cited Galvan Declaration (Galvan Declaration ¶¶ 7, 21.) Mr. Hagar’s
 6   Exhibit 7 is an April 10, 2007 letter from the Claremont Custody Center Facility Director to a
 7   CDCR official, describing for five single-spaced pages numerous acts and omissions by CDCR
 8   that imposed unreasonable dangers and costs on the community-based provider, including the
 9   abrupt termination of TB test support, and arbitrary limits on the number of program
10   participants who could be sent for medical and dental care to the CDCR prison assigned to
11   provide such care to the community-based facility. The abrupt denial of TB testing described
12   in the letter illustrates CDCR’s history of failure to demonstrate concern for the welfare of the
13   communities in which it seeks to place inmates. The facility director wrote:
14                 Therefore, by denying the TB testing to CCC staff, CDCR would
                   be exposing the public to another potential health hazard—and of
15                 course they will also be exposing inmates, CCC staff and other
16                 staff, in addition to CDCR staff that work at Claremont Custody
                   Center. Because TB is considered to be a public health concern of
17                 great importance, one would think that CDCR and CCFA would do
18                 everything they could to aid in the prevention of its spread.

19   (Hagar Declaration, Exhibit 7, April 10, 2007 Letter at Page 2, lines 2-7.)

20          6.     In light of this history of abusing community providers, it is not surprising the

21   CDCR’s recent efforts to secure community-based alternatives to prison for parole violators

22   have failed. Just one day after the Receiver filed its report, plaintiffs’ counsel in Valdivia

23   received an email notification from CDCR’s counsel that CDCR’s Invitation for Bids (IFB) for

24   150 In-Custody Drug Treatment Beds (ICDTP) in Los Angeles County had received not even

25   one single response. A true and correct copy of this email is attached hereto as Exhibit 1. The

26   150 ICDTP beds in Los Angeles County were to be the first significant milestone in

27   implementation of an April 3, 2007, Stipulation and Order Regarding Remedial Sanctions,

28   attached to the Galvan Declaration at Exhibit O. With no bids having been received, and the
                                                         -2-
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 1   deadline only six weeks away, it appears unlikely that CDCR will achieve this first critical step
 2   to expansion of remedial sanctions programs.
 3          7.     Other CDCR commitments to increase community-based alternatives to
 4   incarceration have also been slipping away in recent days. On May 31, 2007, I attended a
 5   meeting with CDCR officials, including the Director of Adult Parole Operations, Thomas
 6   Hoffman, regarding implementation of the April 3, 2007 Stipulation and Order Regarding
 7   Remedial Sanctions. During the May 31, 2007 meeting plaintiffs’ counsel was informed of the
 8   following recent delays and setbacks in remedial sanctions implementation, among others:
 9                 (a) CDCR officials disclosed that they were delaying the establishment of the
10          Female Residential Multi-Service Center (FRMSC) program (discussed in Paragraph 30
11          of the Galvan Declaration as part of the April 3, 2007 Stipulation and Order Regarding
12          Remedial Sanctions). CDCR officials stated that they had held a “Bidder’s Conference”
13          regarding CDCR’s Request for Proposals to establish the FRMSCs, and that based on
14          feedback from the bidders, CDCR was withdrawing its Request for Proposals, delaying
15          startup of the program, and significantly reducing its size.
16                 (b) Plaintiffs’ counsel asked for a report on the “special efforts” to secure
17          remedial sanctions programs “in underserved areas of Region IV,” required by the April
18          3, 2007 Stipulation and Order, Galvan Declaration, Exhibit O at page 3, line 20, page 4,
19          line 15. Region IV includes the counties of Riverside, San Bernardino, Imperial,
20          Orange and San Diego. CDCR officials reported that their efforts to secure bids for the
21          Parolee Services Center (PSC) in Riverside and San Bernardino Counties had resulted
22          in no bids. CDCR officials reported that they had attempted to remedy the situation by
23          reissuing the new invitation at a higher price, but that the Department of Finance had
24          rejected the increase in price. CDCR officials informed plaintiffs’ counsel that the
25          Riverside County sheriff’s department had rejected a 120-bed ICDTP program, and that
26          CDCR had not yet decided whether to approach private bidders, despite an April 1,
27          2008 deadline for all 1800 ICDTP program slots. Similarly, CDCR reported negative
28          results from San Bernardino County.
                                                         -3-
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 1               (c) Plaintiffs’ counsel asked whether the set of interim instructions to the field
 2       regarding use of remedial sanctions, required under the April 3, 2007 Stipulation and
 3       Order (Galvan Decl. Ex. O at pages 4-5) had been distributed to hearing officers of the
 4       Board of Parole Hearings (BPH), who have final decision-making authority over many
 5       parolee diversions. The BPH personnel present said that the interim instructions had not
 6       been distributed, despite the requirement that they be distributed to the field “as soon as
 7       possible” after April 3, 2007. (Galvan Decl. Ex. O at page 5, line 15.) The Department
 8       of Adult Parole Operations had only received the instructions the day before the
 9       meeting, on May 30, 2007, and then only by posting on an internal website, with no
10       evidence of physical distribution or training. CDCR officials at the meeting admitted
11       that many parole agents do not use computers because their labor agreements do not
12       require them to.
13               (d) CDCR officials admitted that none of their efforts to site ICDTP program
14       slots in county facilities had yet included any of the “dual diagnosis” beds for persons
15       with mental illness and substance abuse problems, required by the April 3, 2007
16       Stipulation and Order. (Galvan Dec. Ex. O at page 7, lines 10-14.) CDCR officials
17       stated their intention to wait until they issued Invitations for Bid for private ICDTP
18       contractors before actively seeking “dual diagnosis” beds.
19               (e) Regarding the parole violation decision matrix promised in the Declaration
20       of Scott Kernan filed with this Court on May 24, 2007 (Docket No. 2238), ¶ 20, the
21       head of CDCR adult parole, Thomas Hoffman, reported that he had only just identified
22       potential contractors for a pilot matrix program, and had not yet secured authorization to
23       fund the contract.
24               (f) Although the use of electronic in-home detention is one of the remedial
25       sanctions programs required in Valdivia and included in the April 3, 2007 Stipulation
26       and Order (Galvan Dec. Ex. O at pages 3-4), CDCR did not bring any person
27       knowledgeable about the program to the meeting. The officials present reported that
28       CDCR had rejected efforts to secure funding to make the program more available by
                                               -4-
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 1         purchasing cell-phone based equipment so that parolees who cannot afford landline
 2         telephone service can benefit from this alternative.
 3         8.      On June 11, 2007, I participated in a coordination meeting with the John Hagar
 4   (the Receiver’s Chief of Staff), plaintiffs’ counsel in Armstrong, Coleman and Plata, and the
 5   Perez Court experts Shulman and Scalzo. Special Master Keating participated by phone.
 6   During that meeting, we discussed the six proposed coordination agreements contained in the
 7   Court’s May 29, 2007 Order, Docket 2247. The proposed agreements between the three cases
 8   do not include construction projects and it became clear at both the June 11 and June 12
 9   meetings that the Receiver has no present schedule for construction of any new beds, let alone
10   mental health beds.
11         9.      On June 12, 2007, I attended a Coleman Policy Meeting in Sacramento. Present
12   at this meeting were representatives from the California Department of Corrections and
13   Rehabilitation (“CDCR”), the Department of Mental Health (“DMH”), the Department of
14   Finance, plaintiffs’ counsel, defendants’ counsel, Deputy Special Master Matthew Lopes and
15   members of the Court’s expert monitoring team. In preparation for the meeting and during the
16   meeting, plaintiffs’ counsel asked for updates on the A.B. 900-related construction projects and
17   “strike team” efforts that defendants have proffered as overcrowding solutions in opposition to
18   plaintiffs’ motion for appointment of a three-judge panel. We received the following
19   responses, among others:
20                 (a) During the portion of the meeting regarding construction updates, I asked
21         Doug McKeever, Director of Mental Health Programs, Division of Correctional Health
22         Care Services, for an update on the schedule for the construction of the consolidated
23         care centers. Mr. McKeever indicated that there is still no schedule for construction of
24         these mental health beds. Defense counsel indicated that there is not even a plan to
25         come up with that schedule.
26                 (b) Defendants confirmed that the vast majority of allocated headquarters
27         positions remain vacant. They reported that almost all of the new hires have been
28         clerical and support staff in headquarters.
                                                    -5-
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 1                 (c) In advance of the meeting, plaintiffs’ counsel requested attendance by a
 2         representative of the “Facilities Construction Strike Team . . . created in response to
 3         Assembly Bill 900 (AB 900),” (Declaration of Deborah Hysen in Support of
 4         Defendants’ Supplemental Brief in Opposition to Plaintiffs’ Motion for Referral to a
 5         Three-Judge Panel, filed May 24, 2007, Docket No. 2238, at 1:28-2:1.) We requested
 6         attendance by a member of the Facilities Construction Strike Team because the agenda
 7         for the meeting included updates on Coleman construction projects at numerous state
 8         prisons, including Ironwood, CMF, CMC, Mule Creek, and CIW. Defendants refused
 9         to facilitate or even permit attendance by a member of Facilities Construction Strike
10         Team. At the meeting, not one of defendants’ representatives in attendance could
11         provide any information whatsoever about the status of defendants’ “infill” projects.
12         10.     During the portion of the June 12, 2007 Coleman meeting regarding re-entry and
13   pre-release planning for Coleman class members, CDCR officials present admitted that their
14   long-promised implementation of pre-release benefits planning has stalled. The following
15   admissions were made regarding lack of implementation of re-entry services and pre-release
16   planning:
17                 (a) CDCR officials reported that their contract for prerelease planning services
18         had fallen through and that they were looking for a new contractor, causing further
19         delays in an implementation that had already been delayed from previously promised
20         and non-delivered implementation dates of January 2007 and end of Summer 2007.
21         (Declaration of Holly M. Baldwin in Support of Pls.’ Supplemental Brief in Support of
22         Motion to Convene a Three-Judge Panel to Limit the Prison Population, filed May 24,
23         2007, Docket No. 2243, pages 4:13-5:9.)
24                 (b) CDCR officials reported that they had not completed negotiations with the
25         Social Security Administration of a Memorandum of Understanding regarding the
26         handling of pre-release benefits applications.
27                 (c) CDCR officials admitted that they have not implemented the pre-release
28         planning component of the Reception Center Enhanced Outpatient Program (RC EOP)
                                                -6-
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 1         plan ordered by this court, to be implemented by January 1, 2007. Defendants
 2         communicated that they have not begun planning, hiring, training, or implementation of
 3         this pre-release program. They stated that they are now waiting for the Department of
 4         Adult Parole Operations (DAPO) to develop a new proposal to address RC EOP
 5         patients. However, the DAPO representative who spoke at the meeting reported that
 6         DAPO is developing a proposal only for inmates who have 240 or more days before
 7         their parole date. The RC EOP plan requires pre-release planning for inmates with 60-
 8         120 days until they parole. The average parole violator serves a revocation term of just
 9         4 months, or 120 days, as compared with the 240 days, or 8 months that would make
10         them eligible for pre-release planning under DAPO’s proposal. (Galvan Decl. Ex. W at
11         page 17.) Short-term parole violators are the persons most likely to stress the mental
12         health care and medical care system through repeated short-term cycling through the
13         system. (See Plata Receiver’s Report re Overcrowding, Exhibit H to Declaration of
14         Lori Rifkin in Support of Plaintiffs’ Supplemental brief In Support of Motion to
15         Convene Three Judge Panel to Limit the Prison Population, Docket No. 2240-1, at
16         pages 18-19.) Defendants’ current concept for pre-release planning will specifically
17         exclude many if not most parole violators, in violation of the RC EOP plan.
18                  (d) CDCR officials stated that even when pre-release planning is eventually
19         implemented, the San Quentin reception center will be excluded because of lack of
20         space.
21                  (e) CDCR and DMH officials admitted that they have no plan to include
22         seriously mentally ill inmates housed in inpatient psychiatric facilities run by DMH
23         facilities in pre-release and benefits planning, even when the stalled program is
24         eventually implemented.
25         11.      On June 13, 2007, CDCR filed in Coleman “Defendants’ Ex Parte Motion, with
26   Declaration of Deborah Hysen, [Proposed] Order, Re: Extension of Time for Defendants’
27   Response to Court Order of April 17, 2007,” Docket No. 2276. In this pleading, defendants’
28   asked for a 60-day extension of time “to plan the key components of the bed plan.” (Id. at
                                                    -7-
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 1   2:18.) The only stated basis of defendants’ request is the need “to lay the groundwork
 2   provided by AB 900 and the Facilities Construction Strike Team.” (3:11-12.) While
 3   defendants represented to the Court in their defense of this motion that AB 900 and the Strike
 4   Teams will accelerate planning and construction to ease overcrowding, defendants’ motion
 5   for extension of time shows that they are being used as yet another excuse to delay
 6   construction and necessary relief for the harms that overcrowding inflicts on the Coleman
 7   class.
 8            12.     In the Valdivia litigation, CDCR has steadfastly held to legal positions that serve
 9   to increase the terms served by parole violators, and to aggravate overcrowding. A large
10   portion of persons returned to custody on parole violations are eligible for day-for-day (“1/2
11   time”) credits against their terms if they participate in any work or education programs. In
12   CDCR institutions, even an education program with no classroom component that consists
13   only of filling out workbooks (known as the “Bridging” program) qualifies for day-for-day
14   (1/2 time) credits. Many Valdivia class members, however, serve all or part of their time in
15   county jails. Such class members whose parole violations are adjudicated by the Board of
16   Parole Hearings as 1/2 time eligible are surprised to find that they are serving longer terms than
17   expected because CDCR will not give them 1/2 time credit for time in the county jail.
18   Plaintiffs’ counsel in Valdivia have pointed out that CDCR has ample legal authority to award
19   such credits, yet CDCR steadfastly refuses to do so, tying up both jail and prison beds by
20   needlessly increasing revocation terms, and forcing more direct transfers to CDCR reception
21   centers from jail locations that are full of persons serving needlessly lengthened terms.
22            13.     On June 12, 2007, plaintiffs’ counsel in Valdivia received notice from CDCR
23   counsel that CDCR would be unable to meet an agreed-to June 13, 2007 deadline for revised
24   procedures regarding persons with severe mental illness who symptoms prevent them from
25   participating in parole revocation processes. This procedure was to be designed to ensure that
26   such persons receive expedited treatment to restore their competence so that their revocation
27   hearings may proceed in a timely manner, and so that they may be considered for community-
28   based alternatives and mental health treatment. CDCR counsel reported that they had been
                                                   -8-
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 1   unable to secure the necessary approvals to provide a plan by the June 13, 2007 deadline.
 2          14.     Attached hereto as Exhibit 2 is a true and correct copy of the Second Report of
 3   the Special Master on the Status of Conditions of the Remedial Order in Valdivia, submitted to
 4   Court on June 11, 2007. (Valdivia Docket No. 1335.) Under the terms of the Valdivia Order
 5   of Reference, the report becomes final if no party files objections within 20 days. The Valdivia
 6   Special Master’s report focused “almost exclusively on remedial sanctions, mentally ill
 7   parolees,” and on certain orders regarding information systems. (Exhibit 2 at 3.) The report
 8   includes the following statements that are pertinent to the representations defendants have
 9   made here regarding their efforts at diverting parole violators in to remedial sanctions:
10                  (a) “The Defendants remain out of compliance with the Permanent Injunction
11          provisions regarding remedial sanctions.” (Id.)
12                  (b). “Availability [of remedial sanctions] remains very limited.” (Id. at 4.)
13                  (c). “ICDTP [In Custody Drug Treatment Program] has 288 beds statewide and
14          they are concentrated in two regions, so that Southern California only has 24 of the beds
15          and none of them are situated in Los Angeles County. Only 30 of the beds are available
16          to women and they are all in one location.” (Id.)
17                  (d) Defendants’ planning efforts for remedial sanctions have “lacked the detail
18          and specificity needed to determine if the numbers cited were sufficient and realistic.”
19          (Id. at 5.)
20                  (e) “Some programs have exclusionary criteria that severely limit program
21          access.” For some programs, the exclusions bar parolees who have applied for
22          Supplemental Security Income or other governmental assistance, and some programs
23          bar any parolees taking psychotropic medication. (Id. at 6-7.)
24                  (f) “Since the fall of 2006, Defendants have repeatedly failed to provide
25          sufficiently substantive material by agreed-upon timeframes and deadlines, which has
26          resulted in frustration on the part of plaintiffs’ counsel and the Special Master.
27          Requested reports, material and information were either late or not presented at all and
28          when plans were presented, they were sometimes subsequently rescinded without
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 1        adequate explanation or rationale.” (Id. at 9.)
 2               (g) Regarding parolees with mental illness, the report states, among other things:
 3        “There has not been a reliable mechanism to ensure that these parolees reach treatment
 4        expeditiously. These parolees have not been consistently assessed for readiness for
 5        release, and the parties disagree about the standard for release and whether Defendants
 6        are obliged to find community-based placements.” (Id. at 12.)
 7               (h) CDCR has made inconsistent recommendations regarding its efforts to
 8        secure community-based placements for mentally ill parolees:
 9               A critical component of according “psych returns” due process is
                 reviewing them to determine when their mental illness is stabilized
10               such that the state no longer has a right to hold them. The Special
11               Master relied on the representation that CDCR Interdisciplinary
                 Treatment Teams (IDTT) would be responsible for this review.
12               Tracking sheets initially recorded recommendations for the level of
13               care that these parolees would need if released to the community.
                 When such recommendations were no longer included, the Special
14               Master’s team inquired about their absence. Staff responsible for
                 overseeing these cases responded that DAPO [Department of Adult
15               Parole Operations] staff initially sought placements consistent with
16               the recommendations but, when this was determined to be futile,
                 staff ceased recording these recommendations. On multiple
17               occasions, CDCR staff from different departments asserted that
                 their position was that “psych returns” would only be released if
18
                 they were able to maintain themselves in the community with
19               outpatient care. This standard was not negotiated and is more
                 stringent than the variety of levels of care originally recorded on
20               tracking documents.
21
                 In Defendants’ objections to the Special Master’s draft report,
22               Defendants assert that IDTT was never performing a review
                 function. This is particularly disturbing as it would imply that the
23
                 Special Master’s reliance was misplaced and a critical due process
24               obligation was not carried out for more than seven months.
                 Defendants aver that the level of care information was provided to
25               DAPO informationally and that DAPO was able to place some
26               parolees at different levels of care in the community.

27
          (Id. at 13-14.)
28
                                                      -10-
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 1                 (i) Even under scrutiny from the Special Master and plaintiffs’ counsel, efforts
 2          to stabilize mentally parolees and place them were inconsistent:
 3                 Throughout the last half of 2006, information about the above-
                   described activity was difficult to come by. Descriptions were
 4                 provided and questions answered only erratically. Tracking
 5                 information sometimes seemed incomplete or internally
                   inconsistent and, too often, updates indicated information had not
 6                 been provided or baseline and ongoing clinical tasks had not been
 7                 done. The result was that the methods used after the August meet
                   and confer to expedite parolees into transfers and treatment were
 8                 not sustained consistently. Significant numbers of parolees revoked
                   under the psych return process in the last half of 2006 did not reach
 9                 treatment, and/or did not appear to be reassessed for hearing
10                 participation, for prolonged periods.

11          (Id. at 14.)
12                 (j) CDCR’s efforts to address the needs of persons deemed incompetent to
13          participate in parole revocation have not been adequate:
14                 The procedure devoted insufficient attention to placing parolees at
                   a level of care needed to accomplish stabilization until such time as
15
                   they are capable of participating in revocation proceedings. Neither
16                 did it include an adequate mechanism for identifying when parolees
                   were well enough to proceed. Additionally, it was issued without
17                 consultation with Plaintiffs’ counsel as required by the Permanent
18                 Injunction.

19          (Id. at 16-17.) The report notes that CDCR’s efforts to address the needs of mentally ill
20          parolees have been “riddled with the issues described elsewhere in this report, including
21          poor communication and missed deadlines.” (Id. at 17.)
22          15.    As part of their plan to reduce overcrowding, defendants told this Court that up
23   to 300 inmates per month will be transferred to out-of-state facilities during the first four
24   months of the program, beginning in June, 2007, with a total of 5,060 transfers scheduled for
25   fiscal year 2007-2008. (Declaration of Scott Kernan, Docket No. 2238 (5/24/07), ¶ 8.)
26          16.    On June 5, 2007, I received from defendants a document titled “California Out-
27   of-State Correctional Facility Involuntary Relocation of 680 Active ICE Hold Inmates.”
28   “ICE” refers to inmates with active Immigration and Customs Enforcement Holds. Attached
                                                  -11-
           DECLARATION OF MICHAEL W. BIEN IN SUPPORT OF PLAINTIFFS’ RESPONSE TO SUPPLEMENTAL SUBMISSIONS RE
                                       OVERCROWDING, NO.: CIV S 90-0520 LKK-JFM
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 1   hereto as Exhibit 3 is a true and correct copy of this chart. The chart details the out-of-state
 2   transfers scheduled for June through September 2007, and shows that in June, only 40 inmates
 3   are scheduled for transfer. In July, no inmates are scheduled for transfer.
 4          I declare under penalty of perjury under the laws of the State of California and of the
 5   United States that the foregoing is true and correct.
 6          Executed this 18th day of June 2007 at San Francisco, California.
 7                                                         By      /s/ Michael W. Bien
                                                                   Michael W. Bien
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           DECLARATION OF MICHAEL W. BIEN IN SUPPORT OF PLAINTIFFS’ RESPONSE TO SUPPLEMENTAL SUBMISSIONS RE
                                       OVERCROWDING, NO.: CIV S 90-0520 LKK-JFM
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                EXHIBIT 1
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 Ernest Galvan

  From:     Nelson, Katherine [Katherine.Nelson@cdcr.ca.gov]
  Sent:     Tuesday, June 12, 2007 9:08 AM
  To:       Michael W. Bien; Ernest Galvan
  Cc:       nancy@nmcampbell.com; Carvo, Dan; Boyd, Russa; riveland@rockisland.com; Vickie Whitney; Jessica Devencenzi
  Subject: Valdivia: Result from IFB for ICDTP in LA

All:
The purpose of this message is to inform the parties that no bids were received in response to the IFB for ICDTP in LA.
Defendants have contacted those organizations who downloaded the IFB from DGS and/or are current DAPO providers to identify
why they did not bid. Defendants found that the IFB for 150 beds was too big. Providers recommended that they make the IFB
for a range of beds rather than a fixed number. As a result, Defendants are rewriting the IFB to make it possible for providers to
offer fewer than 150 beds. Defendants are also considering alternative methods of program delivery such as allowing the housing
provider to also provide the program.

At this time, Defendants believe providers are interested in bidding for this contract and do not believe that this delay will hamper
their ability to meet time lines in the remedial sanctions stipulation. DAPO team is working on these issues now and is meeting to
develop a time line for the release of the new IFB. I will inform all parties when I have more information.


Katherine K. Nelson
Chief of the CDCR Court Compliance Legal Team
916-323-2929
Katherine.Nelson@cdcr.ca.gov




6/14/2007
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                EXHIBIT 3
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